Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

 

Fill in this information to identify your case: |

5 Bend dom E

 

United States Bankruptcy Court for the:

Eastern District of New York bey
i fued aah Ad ey a we
Chapter you are filing under:
QO) Chapter 7
( Chapter 41

UJ) Chapter 12
a Chapter 13 CL) Check if this is an

[ee ent een | amended filing

‘Case number (if known):

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42/47

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ae identify Yourself

“4. Your full name

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your Rosalind
government-issued picture

 

 

 

identification (for example, First name First name
your driver’s license or
passport). Middle name Middie name
Bring your picture Davis

Last name Last name

identification to your meeting
with the trustee.

Suffix (Sr., Jr Ill) Suffix (Sr, Jr. il, Hl)

 

2, Allother names you

 

 

 

 

 

 

 

Identification number
(ITIN)

Official Form 101

have used in the last 8 First name First name
years
\ Include your married or Middle name Middle name
; maiden names.
i Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
; your Social Security XXX = XX _8- _8 3 4 XXX XK
number or federal OR OR
Individual Taxpayer
9 xx - xx - 9xx - xx -

Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 8-19-73725-ast Doc1 Filed 05/22/19

Debtor 4 Rosalind Davis

First Name Middle Name Last Name

Case number (if known)

Entered 05/22/19 09:11:46

 

_4 Any business names

About Debtor 1:

and Employer | have not used any business names or E/Ns.

Identification Numbers
(EIN) you have used in

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business names or EINs.

 

the last 8 years Business name

Include trade names and

Business name

 

i i :
doing business as names Business name

EN

EN

Business name

EIN”

EIN

 

 

5. Where you live

10 Highwoods Ct
Number Street

 

 

 

Saint James NY 11780
City State ZIP Code
Suffolk

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

If Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZIP Code

 

County

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

| Number Street Number Street
P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
| 6. Why you are choosing Check one: Check one:
| this district to file for wi , oo ; oe
Over the fast 180 days before filing this petition, CJ Over the last 180 days before filing this petition,
bankruptcy Rete trae atte :
| have lived in this district longer than in any

| have lived in this district longer than in any
other district.

C) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

other district.

(2) t have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

Case 8-19-73725-ast

First Name

Rosalind Davis

Middie Name

Doc1 Filed 05/22/19 + Entered 05/22/19 09:11:46

Case number (i known).
Last Name

i Tell the Court About Your Bankruptcy Case

7.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

C] Chapter 7
C] Chapter 11
UC) Chapter 12

(J Chapter 13

(2 | will pay the entire fee when I file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

U2 I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

C1 | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

11.

Do you rent your
residence?

Official Form 101

QO No
WZ Yes. pistrict East. Dist. of NY when 11/21/2013 — case number Chapter 7
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
A No
Cl Yes. Debtor Relationship-to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known
MM/0D/YYYY
Wi No. Goto line 12.
(] Yes. Has your landiord obtained an eviction judgment against you?

(J No. Go to line 12.
CJ Yes. Fill out /nitia! Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

Debtor 1 Rosalind Davis Case number ( known).

First Name Middle Name Last Name

ee Report About Any Businesses You Own as a Sole Proprietor

12, Are youasole proprietor (No. Goto Part 4.
of any full- or part-time
business? CJ Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

Name of business, if any

 

Number. Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:

C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
QO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))

CJ None of the above

43. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?
_ OQ) Ne. | am not filing under Chapter 11.
For a definition of small
business debtor, see C) No. 1am filing under Chapter 11, but |am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

C) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ca Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own orhave any (no

property that poses or is
alleged to pose athreat “I Yes. Whatis the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

Where is the property?
Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 8-19-73725-ast

Debtor 1 Rosalind Davis

First Name Middle Name

Last Name

a Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligibie to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

0 i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LI] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but 1 do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Oy certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ] 1 am not required to receive a briefing about
credit counseling because of:

Q Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Q) Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Case number (f known),

Doc1 Filed 05/22/19 + Entered 05/22/19 09:11:46

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

(J i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(} | received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not. do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about
credit counseling because of:

] Incapacity. ! have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

() Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

Rosalind Davis

First Name Middle Name

Debtor 1 Case number (if known)

Last Name

eo Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

> © No. Go to line 16b.
\ Yes. Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

QC) No. Go to line 16c.
U) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

Primary Home Mortgage

 

17. Are you filing under
Chapter 7?

Do you estimate that after CJ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

(4 No. | am not filing under Chapter 7. Go to line 18.

 

 

 

 

excluded and CI No
administrative expenses
are paid that funds will be C1 Yes
available for distribution
to unsecured creditors? ae
18. How many creditorsdo J 1-49 C] 1,000-5,000 C) 25,001-50,000
you estimate that you Q) 50-99 C2) 5,001-10,000 LJ 50,001-100,000
owe? L) 100-199 CJ 410,001-25,000 O) More than 100,000
C) 200-999 . . _. ;
19. How much do you LC] $0-$50,000 LL} $4,000,001-$10 million (2) $500,000,001-$1 billion

estimate your assets to
be worth?

Cl $50,001-$100,000
(1 $100,001-$500,000
(4 $500,001-$1 million

C) $10,000,001-$50 million
CJ $50,000,001-$100 million

U2 $100,000,001-$500 million

(J $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion

() More than $50 billion

() $500,000,001-$1 billion
C) $1,000,000,001-$10 billion

(2) $1,000,001-$10 million
CJ $10,000,001-$50 million

OC) $0-$50,000
2 $50,001-$100,000

20. How much do you
estimate your liabilities

 

to be? Z $100,001-$500,000 (J $50,000,001-$100 million (2 $10,000,000,001-$50 billion
C) $500,001-$1 million {3 $100,000,001-$500 million C] More than $50 billion
Sign Below
{ have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to-help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

{ understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
AG. §§ 15241341, 1519, and 3571.

) 7 Rosalind Davis x
Sighature of Debtor 1

Executed on 05/21/2019
"wim 7? DD /YYYY —

  

 

Signature of Debtor 2

Executed on
MM / DD /YYYY

 

Officia! Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

Debtor 1 Rosalind Davis Case number (i known),

First Name Middie Name Last Name

 

F tt if 1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
or your attorney, Ifyou are = 4, proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

 

represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date
Signature of Attorney for Debtor MM / DD LYYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

Debtor 1 Rosalind Davis

First Name Middfe Name

Case number ( known}
Last Name

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C) No
td Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CJ No

d Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
4 No

C] Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

 

 

 

Official Form 101

x Rosalind Davis x
Signature of Debtor 1 Signature of Debtor 2
Date 05/21/2019 __ Date ee
MM/DD /YYYY MM/ DD /YYYY

Contact phone (631) 320-8456 Contact phone

Cell phone Cell phone

Email address [OZ.davis@mpdsystems.com Email address

Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts. gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

oa |
DEBTOR(S): “Kk a Se [o> d Yoo o CASE NO.:

7

 

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Refated Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [/f closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

© SCHEDULE A/B: PROPERTY “OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

© SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN

SCHEDULE “A/B” OF RELATED CASES:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [Uf closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

© SCHEDULE A/B: PROPERTY “OFFICIAL FORM 106A/B - INDIVIDUAL” PART I (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

° SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

 

 

“ e . [OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): sd Uf closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer fo NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART I (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

Iam admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form.
a EI 2y, SL / | Mee ann -

Signature of Debtor’s Attorney Signature of Pro-se Debtor/Petitioner

/O Mig bucods CH.

Mailing’ Address of Debtor/Petitioner

5]. Jann AY J/ FBO

 

 

 

 

City, State, Zip Code
rrozaa uy s oo Pryde s Ln 6 Con
Email Address fr fo

C8I-320-89S6

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or

the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Case No. _
Chapter / 5S

DECLARATION OF PRO SE DEBTOR(S)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:
*,

a | ‘

Name of Debtor(s): “Kos Q l ad \) an»

Address: /a Hah. ae ots CL mare fares ,_*Y 1/720
7

Email Address: cro 7@ ped. SuS tems Lom

Phone Number: ( 631 ) Is Y% -~BYS ¢

CHECK THE APPROPRIATE RESPONSES:

FILING FEE:
_V_ PAID THE FILING FEE IN FULL

___APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

PREVIOUS CASES FILED: 1. 2. 3.

ASSISVANCE WITH PAPERWORK:
m4 NO ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
____ HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

If Debtor had assistance, the following information must be completed:

Name of individual who assisted:

 

 

 

Address:
Phone Number: ( )
Amount Paid for Assistance: $

 

I/We hereby declare the information above under the penalty of per jury. — (-/
a af
Dated: 5, 22 / 4 Af ZL.

Debtér’s Signature

 

Joint Debtor’s Signature
Case 8-19-73725-ast Doc1 Filed 05/22/19 Entered 05/22/19 09:11:46

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.
sy Po, Chapter / s

Debtor(s)
-- x

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: s/o of, IG a
AASO.

Debtor

 

 

Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rev. 11/15
Case 8-19-73725-ast Doc1 Filed 05/22/19

Mortgage Bank,

Rushmore Loan Management
PO Box 55004

Irvine, CA 92619

SN Servicing Corp
323 5" Street
Eureka, CA 95501

Stern & Eisenberg, PC
Attorney(s) for Plaintiff
Woodbridge Corporate Plaza
485B Route | South - Suite 330
Iselin, NJ 08830

Entered 05/22/19 09:11:46
